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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


COX COMMUNICATIONS, INC., et al.,

           Movants,                                      Case No. 1:19-mc-00144
                                                         Underlying Litigation:
v.                                                       Sony Music Entertainment et al. v.
                                                         Cox Communications, Inc., et al.,
THE RECORDING INDUSTRY                                   Case No. 18-cv-00950-LO-JFA (E.D. Va.)
ASSOCIATION OF AMERICA,

           Respondent.


                THE RECORDING INDUSTRY ASSOCIATION OF AMERICA’S
          OPPOSITION TO COX’S MOTION TO COMPEL COMPLIANCE WITH RULE 45
         SUBPOENA DUCES TECUM, OR IN THE ALTERNATIVE, MOTION TO TRANSFER
                TO THE ISSUING COURT AND MEMORANDUM IN SUPPORT

             The Recording Industry Association of America (“RIAA”) respectfully requests that the

     Court deny Cox Communication, Inc. and CoxCom, LLC’s (collectively, “Cox”) Motion To

     Compel RIAA’s Compliance With Cox’s Subpoena Duces Tecum (ECF No. 1). In the alternative,

     the Court should transfer the motion to the issuing court presiding over the underlying litigation—

     the Eastern District of Virginia (“EDVA”)—pursuant to Rule 45(f) of the Federal Rules of Civil

     Procedure.1

             Cox’s motion should be denied for two straight-forward reasons. First, the motion is

     untimely—it arises from a subpoena that Cox served on RIAA, and that RIAA objected to in

     writing, in January 2019. Discovery in the underlying litigation closed two months ago (on July

     2, 2019), and Cox’s motion appears to be an end-run around the EDVA court’s ruling that “no

     further enlargements of the discovery period will be allowed.” Declaration of Jeffrey M. Gould



     1
      RIAA has included two proposed orders with this brief: one denying Cox’s motion and one
     granting RIAA’s alternate request to transfer.
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(“Gould Decl.”), Ex. K (Scheduling Order, Sony ECF No. 138). Second, in January 2019 in the

EDVA, Cox filed a motion to compel Plaintiffs in the underlying case to produce essentially the

same documents that Cox now seeks from RIAA. The EDVA court denied that motion in large

part. Cox should not be allowed to take a second bite at the same apple in a different court,

especially against a non-party.

       In the alternative, if a court is going to consider the substantive issues raised by Cox’s

motion, then RIAA respectfully requests transfer of the motion to the EDVA, which issued the

document subpoena at issue and is handling the underlying case. Pursuant to Rule 45(f), transfer

is appropriate where the respondent consents, as here. Though nothing further is needed to warrant

transfer under Rule 45(f), the exceptional circumstances presented here heavily favor transfer, as

well. The EDVA court has already addressed the issue on which Cox seeks to compel discovery,

as well as numerous other discovery disputes. The underlying case is set for trial on December 2,

2019, the EDVA has already held the final pretrial conference, and summary judgment and Daubert

motions are already on file. Requiring this Court to unpack the long, complex history of the

underlying case at this juncture to address Cox’s untimely motion would be inefficient and would

risk interfering with the EDVA court’s case management. The EDVA is in the best position to

resolve the procedural and substantive issues raised by Cox’s motion. Judicial economy and

avoidance of inconsistent rulings, therefore, heavily favor transfer as an alternative to denial.

                                         BACKGROUND

          I.   The Sony v. Cox and BMG v. Cox Cases

       In July 2018, a number of record companies and music publishers brought the underlying

copyright infringement case against Cox in the Eastern District of Virginia, captioned Sony Music

Entertainment et al. v. Cox Communications, Inc., et al., Case No. 18-cv-00950-LO-JFA (filed July




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31, 2018, E.D. Va.) (the “Sony v. Cox” or “Sony” case). Gould Decl., Ex. A (Sony Complaint).

The Sony Plaintiffs are the owners and stewards of the copyrighted works of the most legendary

artists and songwriters of our time, including Jay-Z, Eminem, Kanye and many others. The Sony

v. Cox case involves numerous parties and has a long history. There are 53 Plaintiffs and

infringement claims on more than 10,000 copyrighted works. The Sony Plaintiffs allege that Cox

is contributorily and vicariously liable for infringement of their copyrights from February 2013

through November 2014. Id.; see also Leiden Decl., Ex. A (Sony Amended Complaint).2

       The Sony case follows a related case—captioned BMG Rights Mgmt. (US) LLC v. Cox

Commc'ns, Inc. , Civ. No. 14-cv-1611 (filed Nov. 26, 2014, E.D. Va.) (“BMG v. Cox”)—in the

same court and before the same district and magistrate judges as the Sony v. Cox case. Gould

Decl., Ex. B at 1-2 (Mem. and Order Denying Venue Transfer, Sony ECF No. 51). In September

2018, Cox sought to transfer the Sony v. Cox case to the Northern District of Georgia for the

convenience of Cox witnesses. Id. at 1. The EDVA denied transfer because “judicial economy

and the avoidance of inconsistent judgments required that [EDVA] retain jurisdiction.” Id. at 5-6.

The EDVA court explained that “in the course of the BMG v. Cox litigation, which lasted over a

year, and culminated in a jury finding Defendants liable, EDVA issued dozens of orders, including

a forty-five page summary judgment opinion” on an issue of first impression. Id. at 1-2. Beyond

that, the EDVA “Court issued dozens of other rulings on discovery issues and other matters [and

s]imilar issues are likely to come up in the present case.” Id. at 6. Given the Court’s familiarity

with the legal and factual issues, and to ensure judicial economy and avoid inconsistent rulings,

the Court concluded that the “interest of justice[] weighs heavily against transfer.” Id. at 6-7.




2
 “Leiden Decl.” refers to the Declaration of Diana Hughes Leiden filed in support of Cox’s
Motion. ECF No. 2-17.

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         II.   Cox’s Subpoenas to RIAA

       Discovery in the underlying litigation closed on July 2, 2019, after the EDVA court twice

extended it. Cox chose not to pursue the instant motion during the discovery period, and fails to

offer any valid basis for re-opening discovery at this late date.

       Discovery in the Sony v. Cox case began in November 2018. On January 7, 2019, Cox

served RIAA with a document subpoena, issued from the EDVA and with a place of compliance

in Washington, D.C., where RIAA is located. Leiden Decl., Ex. B. RIAA, the trade association

for the record company Plaintiffs, timely served written responses and objections on January 22,

2019 and produced documents shortly thereafter. Leiden Decl., ¶ Ex. C; Gould Decl., ¶ 5. RIAA

and Cox conferred in letters and telephonically in February 2019. Leiden Decl., Exs. E-F; Gould

Decl., ¶ 7. Cox never again mentioned anything to RIAA about the document requests at issue in

the instant motion. Id.

       Cox has served other subpoenas on RIAA issued from the EDVA in the underlying

litigation, and has moved to enforce compliance with those subpoenas in the EDVA. In April 2019,

Cox served a Rule 30(b)(6) deposition subpoena on RIAA, as well as an individual deposition

subpoena on one of its employees. Gould Decl., ¶ 8, Exs. C, D. Like the document subpoena at

issue here, those deposition subpoenas issued from the EDVA and listed Washington, D.C. as the

place for compliance. Id. When a dispute arose about one of those subpoenas, Cox moved in the

EDVA (not here) for leave to take those RIAA depositions. The EDVA court sustained the Sony

Plaintiffs’ objection in part and denied Cox leave to take one of the RIAA depositions. Gould

Decl., Ex. E at 17 (Hr’g. Tr.). RIAA did not object to the Rule 30(b)(6) deposition occurring, and

Cox deposed RIAA’s designee on June 10, 2019. Gould Decl., ¶ 11.




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       On June 26, 2019, RIAA and Cox conferred by email and telephonically about issues

unrelated to those raised in its instant motion. Gould Decl., ¶ 12 & Ex. F (conferral emails). Cox

did not mention the issues raised in the instant motion during those conferrals. Gould Decl., ¶ 12,

though Cox’s motion and declaration suggest otherwise. See Mot. at 5 & n.13; Leiden Decl., ¶ 19.

Cox’s Aug. 21, 2019 motion to compel in this Court was the first time since February 2019 that

RIAA heard from Cox about the issues raised in the motion. Gould Decl., ¶ 7. Cox filed the

motion more than seven months after serving the subpoena, six months after RIAA’s written

responses and the relevant conferrals, and more than six weeks after the close of discovery.

       On Aug. 27, 2019, RIAA informed Cox, through counsel, that it intended to move to

transfer Cox’s motion to EDVA pursuant to Rule 45(f), and sought Cox’s consent. Gould Decl. ¶

13, Ex. G. Cox acknowledged receipt of RIAA’s request but never responded. Id.

       III.    Relevant Sony v. Cox Procedural History and Posture

       The EDVA court has already addressed the issue on which Cox seeks to compel discovery,

among dozens of other discovery disputes. After resolution of venue and other preliminary

motions, contentious discovery proceeded in the Sony case from November 2018 through July 2,

2019. The parties filed numerous discovery motions, including motions to compel, and regularly

appeared for discovery hearings and case management conferences during that time. Gould Decl.,

¶ 14. In addition to a hearing on Cox’s motion to transfer venue, the EDVA court has held seven

discovery hearings, hosted a telephonic conference concerning potential settlement, and ordered

the parties to appear for an upcoming settlement conference. Gould Decl., ¶ 15.

       On January 18, 2019, Cox moved to compel documents from the Sony Plaintiffs in EDVA.

That motion addressed many of the same issues raised in Cox’s motion to this Court concerning

the Copyright Alert System (“CAS”) and other Internet Service Providers (“ISPs”). See Gould




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Decl. ¶ 6, Ex. H at ¶ 4 (Cox motion, Sony ECF No. 72); Ex. I at 17-19 (Sony Plaintiffs’ opposition,

Sony ECF No. 82). Cox misleads the Court regarding CAS. It was a private agreement between

content owners and certain ISPs to create an educational program in an attempt to reduce

infringement. It was not an industry standard defining how to respond to copyright infringement

notices, as Cox contends, Mot. at 8, and cannot be held out as one.

       On full briefing and argument on Cox’s motion concerning CAS, the EDVA court mostly

rejected Cox’s motion, ordering Plaintiffs to produce just a few specific agreements, but otherwise

rejecting Cox’s overbroad request for documents concerning CAS and other ISPs. Significantly,

Cox’s motion to this Court omits that critical context, as well as 11 pages of relevant hearing

transcript, during which the EDVA court addressed and largely rejected Cox’s motion. See Leiden

Decl., Ex. D (Jan. 25, 2019 Hr’g. Tr. at 61-62). The complete portion of the transcript discussing

the issues and the EDVA court’s ruling is provided here. Gould Decl., Ex. J (Jan. 25, 2019 Hr’g.

Tr. at 49:18-63:17).

       In May 2019, Cox then served a discovery request on the Sony Plaintiffs for “[a]ll

Documents and Communications concerning the impact, if any, on levels of infringement from the

CAS, including data, reports, studies, or analyses.” Leiden Decl., Ex. M. The Sony Plaintiffs

objected and Cox never moved to compel such documents from the Sony Plaintiffs in the

underlying case. Gould Decl., ¶ 10. Instead, Cox waited until after the close of the discovery

period and then moved this Court to compel non-party RIAA to produce virtually the same

documents concerning the “effectiveness of CAS,” Mot. at 3, and “the impact, if any, on the scope

of copyright infringement.” Id. at 4.

       The parties in the Sony case have deposed 40 party and third-party witnesses. Gould Decl.,

¶ 16. Nine experts have submitted 17 reports and sat for nine depositions. Id., ¶ 17. The Court




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held a final pre-trial conference on June 21, 2019. Id., ¶ 18. Discovery closed July 2, 2019. Gould

Decl., ¶ 19, Ex. K (Scheduling Order, Sony ECF No. 138). The parties have since filed or

exchanged witness lists, exhibits lists and objections to exhibits, and proposed stipulations. Trial

subpoenas have been served. On August 30, 2019, the Sony Plaintiffs and Cox each filed 40-page

summary judgment briefs and the parties, collectively, filed nine Daubert motions. Deposition

designations are due September 18, 2019 and motions in limine are due October 19, 2019. Trial

is set to begin December 2, 2019. Gould Decl., ¶ 20, Exs. L, M (Scheduling Orders, Sony ECF

Nos. 223, 252).

                                              ARGUMENT

       Cox’s motion to compel should be denied as untimely and because the EDVA has already

rejected Cox’s position. In the alternative, the motion should be transferred to the EDVA, which

issued the subpoena and presides over the underling Sony v. Cox case, because RIAA has consented

to transfer and the circumstances favor it.

          I.   Cox’s Motion Should Be Denied

       Cox’s motion is fundamentally flawed and should be denied.

                   A. Cox’s Motion Is Untimely

       Cox’s motion is untimely and Cox offers no justification for the delay. Cox waited seven

months to file the motion and did so more than six weeks after the close of discovery. The EDVA

court could not have been clearer that “[g]iven the enlarged time provided for discovery initially

and this additional enlargement, no further enlargements of the discovery period will be allowed.”

Gould Decl., Ex. K (Scheduling Order, Sony ECF No. 138). Cox cites a single case for the

proposition that courts in this district may permit motions to compel after the close of discovery if

the tardiness is justified. Mot. at 6 n.14 (citing Barnes v. D.C., 289 F.R.D. 1, 20 (D.D.C. 2012)).




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But Cox ignores then-Chief Judge Lamberth’s pronouncement in the very same breath that “parties

do not have free reign to file discovery motions long after discovery has closed, without any

justification for the delay.” Id. Cox has disregarded that admonition, moving to compel long after

the close of discovery, on an issue in dispute since February 2019, without even a purported excuse

for the delay.

                   B. The EDVA Court Already Rejected The Issues Raised In Cox’s Motion
                      and Cox Offers No Basis For A Different Result Here

        Cox’s motion also fails because a prior ruling by the EDVA court resolved the issues in

Cox’s motion and Cox offers no explanation why this Court should disregard that ruling.

        Some background on CAS is critical for framing Cox’s motion because Cox misleads the

Court regarding CAS. As set forth in the Sony Plaintiffs’ declarations opposing Cox’s motion in

EDVA, CAS was a private, multi-industry agreement to work collectively to address copyright

infringement. It involved 18 separate parties and the creation of an independent entity to

administer it. Gould Decl., Exs. O at ¶¶ 12-14 (Bell Decl.), P at ¶¶ 30-32 (McMullan Decl.), Q at

¶¶ 26-28 (Leak Decl.). Cox could have joined CAS but refused to do so. Id.

        CAS was not an industry standard and cannot be held out as one. The very Memorandum

of Understanding (“MOU”) that created CAS expressly provides that it is not an interpretation of

an ISP’s legal obligations. Specifically, the MOU and parties to it acknowledged that the

“Agreement does not and is not intended to establish any legal inference regarding any ISP that

does not participate in the Copyright Alert program.” Leiden Decl., Ex. G at 9 n.1 (MOU). This

case is about Cox and its actions relative to its legal obligations. The attitudes and actions of Cox’s

competitors, whether in connection with CAS or otherwise, are irrelevant. A driver caught

speeding cannot avoid liability or pay a lesser ticket by arguing that others on the road drove as




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fast or faster. Nor can Cox avoid liability based on the conduct of third parties under a private

agreement.

       Against that backdrop, in January 2019, Cox asked the EDVA court to compel the Sony

Plaintiffs to produce a staggering array of “All documents” concerning CAS and other ISPs’

handling of copyright infringement notices. Specifically, Cox moved to compel the following:

   Request No. 118
   All documents concerning an ISP’s response to receiving an infringement notice from any
   entity, including the “representatives” identified in paragraph 2 of Your Complaint.

   Request No. 126
   All documents concerning Your communications or negotiations with ISPs other than Cox
   regarding the number of infringement notices that any of those other ISPs would accept from
   You, any other Plaintiff, or any other party attempting to enforce a copyright.

   Request No. 127
   All documents concerning the policies or practices of online service providers (including
   without limitation ISPs and Internet access providers) concerning the termination or
   suspension of their subscribers or account holders due to allegations of copyright infringement.

   Request No. 130
   All documents concerning communications between You and any ISP other than Cox
   regarding Your request or demand for the ISP to transmit information to the ISP’s subscriber,
   account holder, or customer.

   Request No. 131
   All documents concerning Your communications with anyone not employed or otherwise
   affiliated with an ISP concerning the number of infringement notices that any ISP would or
   would not accept from You, any other Plaintiff, or any other party attempting to enforce a
   copyright.

   Request No. 165
   All documents concerning CAS.

   Request No. 166
   All documents concerning negotiations related to CAS.

   Request No. 167
   All documents concerning any Memorandum of Understanding concerning CAS, including
   without limitation the July 6, 2011 Memorandum of Understanding (the “7/6/2011 MOU”) to
   which the RIAA was a signatory (singly or collectively, a “CAS MOU”).




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   Request No. 168
   All documents concerning any agreement You entered into pursuant to any CAS MOU or any
   related agreement, including without limitation any Implementation Agreement You entered
   into pursuant to the 7/6/2011 MOU.

   Request No. 169
   All documents concerning Your status as a signatory of a CAS MOU.

   Request No. 170
   All documents concerning Cox’s compliance or non-compliance with policies or procedures
   reflected in CAS, a CAS MOU, or any Implementation Agreement concerning a CAS MOU.

   Request No. 171
   All documents concerning any technological system used to detect, monitor, or generate or
   send notifications concerning, copyright infringement in connection with CAS, a CAS MOU,
   or any Implementation Agreement concerning a CAS MOU.

   Request No. 172
   All reviews, assessments, evaluations, reports, or the like, concerning CAS, including without
   limitation any technological system utilized in connection with CAS.

   Request No. 173
   All documents concerning any reviews, assessments, evaluations, reports, or the like,
   concerning CAS or a CAS MOU, including without limitation drafts.

   Request No. 174
   All documents concerning notifications sent pursuant to CAS, any CAS MOU, or any
   Implementation Agreement, concerning allegations of copyright infringement of any
   Copyright Work.

Gould Decl. Ex. H at ¶ 4; Ex. I at 17-19.

       Cox described these requests to the EDVA court as “narrowly tailored and straightforward.”

Gould Ex. N at 15 (Sony ECF No. 75). Unsurprisingly, the EDVA court disagreed and said that

“many of the document requests that were served relating to this are certainly overbroad, unduly

burdensome, and I wouldn’t require additional responses.” Gould Decl., Ex. J at 61. Cox now

asks this Court to compel many of the same documents from RIAA that the EDVA court denied

when Cox sought them from the Sony Plaintiffs, including reports from CAS ISPs regarding the

number of copyright infringement notices they forwarded to their subscribers, documents




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regarding “the effectiveness of CAS,” “Documents and communications concerning the

implementation of the CAS by ISPs and the impact, if any, on the scope of copyright infringement

. . . ,” and “Documents concerning CAS or any proposed inter-industry agreement concerning the

handling of notices of copyright infringement.” Mot. at 3-4.

       Cox asks this Court for an alternate ruling without even mentioning this aspect of the EDVA

court’s prior decision. In doing so, Cox offers no explanation why this Court should compel non-

party RIAA to produce documents “intended to allow the RIAA to assess the effectiveness of

CAS,” Mot. at 3, when the EDVA court already denied Cox’s motion to compel the party plaintiffs

to produce, inter alia, “documents concerning any reviews, assessments, evaluations, reports, or

the like, concerning CAS or a CAS MOU” (RFPs 172-173), “documents concerning an ISP’s

response to receiving an infringement notice” (RFP 118), and “documents concerning notifications

sent pursuant to CAS, any CAS MOU, or any Implementation Agreement, concerning allegations

of copyright infringement of any Copyright Work” (RFP 174).

       The EDVA court understood the overbreadth of Cox’s request and largely denied the

motion. Gould Decl., Ex. J at 61-62. There is no basis for this Court to reach a different conclusion

from the court in the EDVA. Cox was not entitled to the documents when it sought them from

Plaintiffs, and it is not entitled to them now when it seeks them from RIAA.

         II.   Transfer To EDVA Is Warranted Under Rule 45(f)

       In the alternative, the Court should transfer Cox’s motion to the EDVA. The basis for

RIAA’s alternative transfer request is simple: RIAA’s consent. Rule 45 of the Federal Rules of

Civil Procedure states, in pertinent part: “When the court where compliance is required did not

issue the subpoena, it may transfer a motion under this rule to the issuing court if the person subject

to the subpoena consents or if the court finds exceptional circumstances.” Fed. R. Civ. P. 45(f).




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See In re Braden, 344 F. Supp. 3d 83, 89 (D.D.C. 2018) (“Because Mr. Braden has consented to

the transfer of his subpoena disputes, the Court grants his motions to transfer under Federal Rule

45(f).”). The EDVA issued the subpoena and transfer there is proper given RIAA’s consent.3

        While this Court needs no other basis to transfer beyond RIAA’s consent, it may also do so

under the alternative basis of “exceptional circumstances.”          Fed. R. Civ. P. 45(f).      When

considering if exceptional circumstances are present, the Court must account for the “complexity,

procedural posture, duration of pendency, and the nature of the issues pending before, or already

resolved by, the issuing court in the underlying litigation.” Judicial Watch, Inc. v. Valle Del Sol,

Inc., No. 14–mc–0538–(BAH), 2014 WL 4954368, at *3 (D.D.C. Oct. 3, 2014); see, e.g., Fed.

Home Loan Mortg. Corp. v. Deloitte & Touche LLP, No. 15–mc–568 (RMC), 2015 WL 3413540,

*3 (D.D.C. May 28, 2015) (finding transfer proper when a case demands a “nuanced legal analysis

based on a full understanding of the [u]nderlying [a]ction,” not “a mere relevancy determination”);

Wultz v. Bank of China, Ltd., 304 F.R.D. 38, 46 (D.D.C. 2014) (finding the issuing court was “in a

better position to rule ... due to her familiarity with the full scope of issues involved as well as any

implications the resolution of the motion will have on the underlying litigation”).

        Courts have recognized that transfer of subpoena-related motions is warranted “when

transferring the matter is in ‘the interests of judicial economy and avoiding inconsistent results.’”

Wultz, 304 F.R.D. at 46 (internal citation omitted); see also Agincourt Gaming, LLC v. Zynga, Inc.,

No. 2:14–cv–0708–RFB–NJK, 2014 WL 4079555, at *7–8 (D. Nev. Aug. 15, 2014) (accounting

for judicial economy, docket management, and the risk of inconsistent rulings in deciding to

transfer motion); Fed. Deposit Ins. Co. v. Everest Reinsurance Holdings, Inc., 13-mc-381(KPF),



3
 Cox itself has previously sought relief in EDVA over its deposition subpoenas to RIAA. See
supra. Though Cox declined to consent to transfer here, it can have no rational basis to oppose
the EDVA court hearing its motion to compel. Any such objection would reek of forum shopping.

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2014 WL 260589, at *2–3 (S.D.N.Y Jan. 23, 2014) (concluding that judicial efficiency and comity

were principal factors for transferring).

        All of these factors heavily favor transfer here. First, the EDVA is in the best position to

rule on Cox’s discovery motion because it requires a “nuanced legal analysis based on a full

understanding” of the complicated facts, legal issues, and procedural posture of the underlying

case. Braden, 344 F. Supp. 3d at 90–92. The Sony case involves more than 50 parties and more

than 10,000 copyrighted works. Cross-motions for summary judgment on theories of secondary

liability are pending.     Resolving Cox’s motion will require more than a mere relevance

determination, but rather an understanding of Cox’s flawed “industry standards” theory in the

context of the broader case and an assessment of how the instant motion relates to Cox’s prior

motion to compel on the same issues.

        Second, transfer is particularly appropriate where the underlying litigation would be

disrupted if the motion is not transferred, as here. Id. at 94; see aslo Google, Inc., v. Digital Citizens

Alliance, No. 15–00707 JEB/DAR, 2015 WL 4930979, at *3 (July 31, 2015 D.D.C.) (“[N]ot

transferring the subpoena-related motion[] carries with it the potential of interfering with the

discovery timeline of the underlying litigation.”). The EDVA long ago issued a “detailed pretrial

schedule for discovery and dispositive motions,” as well as a trial date and schedule for pretrial

submissions. Id.; Gould Decl., Exs. K-M (Scheduling Orders, Sony ECF Nos. 138, 223, 252).

Discovery lasted months longer than ordinary in the EDVA and has already been closed for two

months. The EDVA court made clear that “[g]iven the enlarged time provided for discovery

initially and this additional enlargement, no further enlargements of the discovery period will be

allowed.” Gould Decl., Ex. K (Scheduling Order, Sony ECF No. 138).




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       In blatant disregard of that ruling—and with no explanation for its tardiness—Cox filed its

motion here more than six weeks after the close of discovery in the Sony case. “District courts in

[the Fourth] circuit deny belated motions to compel filed close to, or after, the close of discovery.”

Flame S.A. v. Indus. Carriers, Inc., No. 2:13-CV-658, 2014 WL 12547260, at *2 (E.D. Va. July

31, 2014) (denying as untimely motion to compel filed one day before close of discovery).4 The

EDVA is best positioned to consider whether Cox’s motion is simply “an effort to bypass discovery

rules for parties to the [underlying] litigation.” CSS, Inc. v. Herrington, 354 F. Supp. 3d 702, 707

(N.D. Tex. 2017).

       Third, and critically, judicial economy and avoidance of inconsistent rulings heavily favor

transfer. The EDVA has already resolved dozens of motions in the Sony case, including a

materially similar motion by Cox in January 2019 seeking to compel documents from the Sony

Plaintiffs. There is no good reason to ask this Court to consider the same issues anew, to reach its

own conclusions about the relevance of the documents, or to unpack the complex procedural

history of prior motions. Moreover, the EDVA itself recognized the importance of judicial

economy and avoiding inconsistent results when it denied Cox’s motion to transfer the Sony case



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  See also Hare v. Comcast Cable Comm. Mgmt., LLC, No. 13–1896, 2014 WL 1284829, at * 1
(4th Cir. Apr. 1, 2014) (unpublished) (finding the district court did not abuse its discretion when it
denied a motion to compel evidence that was “crucial to the case,” when the moving party had
ample time to secure the discovery but did not seek an extension or compulsion until discovery
had closed); Blind Indus. Servs. of Maryland v. Route 40 Paintball Park, No. WMN–11–3562,
2012 WL 4470273, at * (D. Md. Sept. 26, 2012) (“The Court noted that plaintiff’s belated motion
was especially troubling because if it were granted, it would disrupt the Scheduling Order by
extending the discovery deadline.”); RDLG, LLC v. RPM Grp., LLC, No. l:10–cv–204, 2012 WL
3202851, at *1 (W.D.N.C. Aug. 6, 2012) (“Courts in this district have repeatedly held that a motion
to compel filed after the close of discovery and after the expiration of the motion deadline in the
scheduling order is untimely.”) (collecting cases); Murphy v. Auto Advantage, Inc., No. 1:11–cv–
11, 2012 WL 28781, at *1 (W.D.N.C. Jan. 5, 2012) (denying a motion to compel as untimely when
filed two days after the close of discovery).




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out of EDVA, in light of its prior involvement in a related case. Gould Decl., Ex. B at 5-7. The

same analysis applies here.

       In short, “exceptional circumstances exist warranting transfer in this case based on the risk

of disrupting the management of the underlying case, the complex relevancy determinations

necessary, and the potential for inconsistent results.” Google, Inc., 2015 WL 4930979, at *4.

                                        CONCLUSION

       For the reasons explained above, Cox’s motion should be denied. In the alternative, RIAA

respectfully requests that the Court transfer the motion to the EDVA based on RIAA’s consent and

the exceptional circumstances presented here.



Dated September 4, 2019                                        Respectfully submitted,

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                                                               Association of American




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                               CERTIFICATE OF SERVICE

I hereby certify that on September 4, 2019, I electronically filed a true and correct copy of the
foregoing using the Court’s CM/ECF system, which then sent a notification of such filing (NEF)
to all counsel of record.

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